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                                                                                                      REVIEWS
                                        CANCER ORIGINS


                                   From melanocytes to melanomas
                                   A. Hunter Shain1 and Boris C. Bastian2
                                   Abstract | Melanomas on sun-exposed skin are heterogeneous tumours, which can be subtyped
                                   on the basis of their cumulative levels of exposure to ultraviolet (UV) radiation. A melanocytic
                                   neoplasm can also be staged by how far it has progressed, ranging from a benign neoplasm, such
                                   as a naevus, to a malignant neoplasm, such as a metastatic melanoma. Each subtype of melanoma
                                   can evolve through distinct evolutionary trajectories, passing through (or sometimes skipping
                                   over) various stages of transformation. This Review delineates several of the more common
                                   progression trajectories that occur in the patient setting and proposes models for tumour
                                   evolution that integrate genetic, histopathological, clinical and biological insights from the
                                   melanoma literature.

                                  Melanocytic neoplasms range from benign lesions,               situation is more complex as there are multiple mela-
Solar elastosis
A degenerative change of the      termed melanocytic naevi, to malignant ones, termed            noma types, which can be linked to different precursor
elastic fibres of the dermis      melanomas. All originate from melanocytes, which are           lesions (FIG. 3).
induced by long-term exposure     neural crest-derived cells that, during development, col-          Fully evolved melanomas harbour multiple patho-
to UV radiation.                  onize the skin, eye and, to a lesser degree, a broad range     genic mutations. The most recurrent somatic mutations
Precursor lesions
                                  of other tissues throughout the body 1. Melanocytes at         in CSD and non-CSD melanomas affect genes in key sig-
Melanocytic neoplasms that        these diverse sites can give rise to phenotypically diverse    nalling pathways that govern proliferation (BRAF, NRAS
have an increased risk of         types of melanoma2. The most common types of mel-              and NF1), growth and metabolism (PTEN and KIT),
progressing to melanoma.          anoma in Caucasians are found on sun-exposed skin.             cell identity (AT‑rich interaction domain 2 (ARID2)),
                                  These cutaneous melanomas can be broadly categorized           resistance to apoptosis (TP53), cell cycle control (cyclin-
Benign naevi
Circumscribed proliferations of   by their origins from skin that is or is not chronically sun   dependent kinase inhibitor 2A (CDKN2A), which
melanocytes at the                damaged (CSD and non-CSD melanomas, respectively;              encodes p16INK4A and p14ARF), and replicative lifespan
dermo-epidermal junction          FIG. 1). CSD and non-CSD melanomas differ in their             (telomerase reverse transcriptase (TERT))7–10. The order
and/or in the dermis.             anatomical site of origin, degree of cumulative exposure       in which these pathways become disrupted is incom-
Dysplastic naevi
                                  to ultraviolet (UV) radiation, host age, mutation burden       pletely understood and may be subject to variation.
Clinically enlarged flat naevi,   and types of oncogenic alteration3–6. CSD melanomas            However, the presence of certain pathogenic mutations
or naevi that show atypical       arise on skin that shows macroscopic and microscopic           in precursor lesions and the association of these pre-
cellular or architectural         signs of long-term exposure to UV radiation, specifically      cursor lesions with specific types of melanoma provide
features microscopically.
                                  marked solar elastosis. Thus CSD melanomas typically           important clues about the order in which mutations tend
Melanoma in situ                  originate from the head, the neck and the dorsal surfaces of   to accumulate (TABLE 1).
A proliferation of atypical       the distal extremities of older individuals (>55 years             In this Review, we discuss the most common types
melanocytes confined to the       of age). They have a high mutation burden and are asso-        of melanoma in Caucasians that originate from sun-
epithelial layer.                 ciated with neurofibromin 1 (NF1), NRAS, BRAF nonV600E         exposed skin and propose evolutionary models of
                                  or KIT mutations2. In contrast, non-CSD melanomas              tumour progression by integrating genetic alterations
                                  typically affect the more intermittently sun-exposed           at specific evolutionary stages with corresponding clin-
                                  areas such as the trunk and proximal extremities of            ical and histopathological information. Thus, we delin-
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 University of California, San
                                  younger individuals (<55 years of age) that do not show        eate progression trajectories that capture the different
Francisco, Departments of
Dermatology and Pathology         marked solar elastosis. They are associated with a mod-        scenarios of evolution found in patients.
and Helen Diller Family           erate mutation burden and a predominance of BRAFV600E
Comprehensive Cancer              mutations2.                                                    Melanocytes
Center, Box 3111, San                 Primary melanomas are often found in association           There are approximately 1,500 melanocytes per square
Francisco, CA 94143, USA.
                                  with different types of precursor lesions, ranging from        millimetre of human epidermis, corresponding to nearly
Correspondence to B.C.B.          benign naevi and dysplastic naevi to melanoma in situ          3 billion cutaneous melanocytes in the skin of an average
Boris.Bastian@ucsf.edu            (FIG. 2). Idealized progression models often imply a single    human11. Melanocytes represent a minority cell popula-
doi:10.1038/nrc.2016.37           path of evolution from naevus, to dysplastic naevus, to        tion within the basilar epidermis and divide infrequently
Published online 29 Apr 2016      melanoma in situ, to invasive melanoma. However, the           — less than twice a year 12. Their main function is to


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                    CSD                                                                                q polypeptide (GNAQ) or GNA11, accompanied by inac-
                                                                                                       tivating mutations of the tumour suppressor gene BRCA1
    High UV



                   Occurrence
                                                                                                       associated protein 1 (BAP1) or mutations in splicing
                                                                                                       factor 3b subunit 1 (SF3B1)16–18. From these examples,
                                                                                                       among others, we speculate that these neoplasms arise
                                       50                                                              from different cells of origin, which may be intrinsically
                                  Age (years)
                                                                                                       different or may occupy different microenvironments,
                                NRAS, NF1, KIT                                                         which changes their function and response to stimuli. We
                                and BRAFnonV600E
                                                                                                       propose that these differences select for distinct somatic
                                                                                                       mutations that promote neoplastic growth. This is in part
                Non-CSD
                                                                                                       supported by experimental evidence. In a mouse model,
Intermediate UV                                                                                        expression of oncogenic mutant Gnaq Q209L in melano-
                   Occurrence




                                                                                                       cytes led to marked proliferation of melanocytes in the
                                                                                                       uveal tract and meninges, but had the opposite effect on
                                                                                                       epidermal melanocytes19.
                                       50
                                  Age (years)                                                              If distinct cells of origin are predisposed towards
                                  BRAFV600E                        Front                     Back      certain tumorigenic subtypes, it is likely that this cell-
                                                                                                       type variation also extends to the melanocytes in sun-
Figure 1 | CSD and non-CSD melanomas are distinct subtypes         of melanoma.
                                                                 Nature  Reviews | Cancer              exposed skin. The peculiar age distribution of neoplasms
Melanomas on sun-exposed skin differ in clinical, histopathological and molecular                      with BRAF V600E mutations is striking (FIG. 1). Naevi with
aspects as a function of the degree of sun-induced damage of the skin on which they
                                                                                                       BRAF V600E mutations arise in the first decades of life20
arise. Chronically sun-damaged (CSD) melanomas have higher mutation burdens and
late age of onset, and occupy anatomical sites with the highest levels of sun exposure,
                                                                                                       and non-CSD melanomas (which commonly contain
such as the head and neck areas. Non-CSD melanomas present earlier in life, are often                  BRAF V600E mutations) peak two to three decades later,
associated with naevi, have comparatively lower mutation burdens and occupy                            dramatically dropping off in incidence after the sixth
anatomical sites with intermediate levels of sun exposure. Each subtype of melanoma is                 decade21. It has been proposed that cutaneous melano­
characterized by distinct mutations, such as BRAFV600E in non-CSD melanoma and NRAS,                   cytes of the trunk and proximal extremities may be
neurofibromin 1 (NF1), KIT and BRAFnonV600E mutations in CSD melanoma.                                 especially susceptible to transformation following a
                                                                                                       BRAF V600E mutation that occurs early in life, or that
                                                                                                       the susceptibility is confined to a specific subset of
                                         provide melanin pigment to their neighbouring kerat-          melano­cytes, such as stem or progenitor cells, that may
                                         inocytes13. Their proliferation and pigment production        no longer exist or be accessible to mutagenesis later in
                                         is stimulated by UV radiation-induced DNA damage to           life2,22 (FIG. 3 step 1). The confinement to specific subsets
                                         keratinocytes, which subsequently secrete α‑melanocyte        of melanocytes may be linked to childhood and adoles-
                                         stimulating hormone (αMSH) in a p53‑dependent                 cence, when melanocyte density remains constant yet
                                         manner 14. αMSH binds to the melanocortin 1 recep-            the body surface expands, implying that melanocytes
                                         tor (MC1R), which is expressed on melanocytes and             must actively expand in number during this period. In
                                         induces synthesis of melanin, which melanocytes               conclusion, we encourage investigators to consider the
                                         deliver to keratinocytes. Melanin is a complex macro-         possibility that melanocytes from different body sites
                                         molecule that scatters and absorbs UV radiation, and          or developmental stages have distinct vulnerabilities
                                         epidermal keratinocytes use it to protect their nucleus       and/or predispositions to transformation. In particular,
                                         from UV radiation-induced DNA damage15. Epidermal             this possibility should be considered when working with
                                         melanocytes are thus part of a defence system against UV      primary melanocytes. For example, melanocytes derived
                                         radiation-induced DNA damage.                                 from neonatal foreskin, a commonly used source, may
                                             Melanocytes are not confined to the epidermis. In         not be able to fully recapitulate the biology of epidermal
                                         the skin, they are also found in hair follicles, where they   melanocytes from other sites.
                                         contribute pigment to the hair shaft 1. Outside the skin,
                                         melanocytes are present in considerable numbers in            Melanocytic naevus
                                         the uveal tract of the eye and at lower densities in other    Melanocytic naevi, termed naevi or naevus (singular)
                                         tissues, such as the meninges and the anogenital tract;       from here on, are benign proliferations of melanocytes,
                                         the melanocytic neoplasms that originate from these           as they have a very low likelihood of progressing to mela­
                                         melanocytes are distinctly different in their clinical,       noma. A broad range of different types of naevus have
                                         histopathological and genetic make‑up from cutaneous          been described and linked to different types of mela-
                                         melanomas (see REF. 2 for a detailed review). For example,    noma2, but we focus here on the most conventional type,
Basilar epidermis
                                         melanocytes in the anogenital and sinonasal mucosa give       the common acquired naevus or banal naevus. Caucasians
The lower-most level of the
epidermis.                               rise to melanomas that have a low mutation burden but         on average have 25 such naevi on their skin that measure
                                         highly rearranged genomes with numerous copy number           at least 2 mm in diameter 23,24. Common naevi arise in the
Common acquired naevus                   changes, including multiple focused amplifications3. By       first two decades of life and have a tendency to regress
The most common form of                  contrast, in the eye, melanocytes within the choroid or       again after the sixth decade20. Although individual naevi
benign naevus, which tends
to arise on the skin during
                                         iris give rise to uveal melanomas, which also have a low      are unlikely to progress to melanoma, their high preva-
childhood or adolescence as              mutation burden and are characterized by frequent acti-       lence makes them contributors to a considerable portion
a brown flat or raised mole.             vating mutations in guanine nucleotide binding protein α      of melanomas.


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Lentiginous growth pattern           Several lines of evidence indicate that the common        stratified as junctional, dermal or compound, depending
The pattern of intra-epidermal    naevi that progress are associated with non-CSD mela­        on whether the constituent melanocytes are found at the
growth of naevi and               nomas (FIG. 3 step 2). Approximately 30% of non-CSD          dermo-epidermal junction, the dermis or both places,
melanomas in which                melanomas show areas representing a pre-existing com-        respectively. BRAF V600E mutations seem to be present in
melanocytes are arranged
mainly as individual units
                                  mon naevus25, but some studies have found up to 90% of       most of these naevus types irrespective of their histo­
rather than as nests within the   superficial spreading melanomas (a common histologi-         logical manifestations28,30,31; however, it will be important
basilar epidermis.                cal presentation of non-CSD melanomas) to be associ-         to more systematically characterize the genetics of these
                                  ated with a naevus26. By contrast, associated precursor      different subtypes of common naevus. If no genetic dif-
Congenital growth pattern
                                  naevi are typically not found in CSD melanomas26,27. An      ferences are found across the subtypes of common naevi,
The pattern of intra-dermal
growth of naevi in which
                                  evolutionary relationship between common naevi and           the different growth patterns may reflect differences
melanocytes are in the deeper     non-CSD melanomas is also reflected in the high pro-         in the type of melanocyte or the specific location (for
dermis around appendages          portion of BRAF V600E mutations found in both types of       example, the interfollicular epidermis or the superficial
such as hair follicles, sweat     neoplasm6,28, including melanomas specifically associated    portion of the hair follicles) from which these melanocytes
glands and neurovascular
bundles.
                                  with an adjacent naevus component29.                         originated (FIG. 3 step 1).

                                  Histopathology. Acquired naevi can exhibit a lentiginous     Formation of naevi. Although previous work suggested
                                  growth pattern or a congenital growth pattern. The latter    that not all neoplastic melanocytes within naevi carried
                                  category does not necessarily imply that the naevus          the BRAF V600E mutation32, recent studies using digital
                                  was present at birth as in bona fide congenital naevi,       droplet PCR, mutation-specific immunohistochemistry
                                  but indicates that it has a similar growth pattern, in       or next-generation sequencing indicate that BRAF V600E
                                  which melan­ocytes involve the deeper dermis, clus-          mutations are fully clonal, consistent with the notion
                                  tering around adnexal structures such as hair folli-         that they are the initiating events30,33. Furthermore,
                                  cles. Lentiginous and congenital pattern naevi can be        ectopic expression of human BRAF V600E in a zebrafish
                                                                                               model is sufficient to form naevus-like proliferations34.
                                                                                               These data suggest that BRAF V600E mutations are suffi-
a Normal skin               Naevus      Dysplastic naevus Melanoma in situ Invasive melanoma
                                                                                               cient for naevogenesis. In support of this notion, exome
                                                                                               and targeted sequencing of genes frequently found in
                                                                                               established melanomas have not revealed additional
                                                                                               pathogenic mutations in common naevi, but have
                                                                                               revealed that these lesions have comparatively low over-
Epidermis
                                                                                               all mutation burdens30. These observations strongly
                                                                                               suggest that a single pathogenic mutation is sufficient to
Dermis                                                                                         initiate the formation of a common naevus.
                                                         Tumour                                    Naevus number and size are strongly influenced
Melanocyte                                               cell                                  by an individual’s constitutional genotype, as previous
                                                                                               work comparing monozygotic and dizygotic twin pairs
           3 mm
                                                                                               has shown35, indicating that the frequency of initiating
                                                                                               mutations, such as a BRAF V600E mutation, and/or their
                                                                                               penetrance is modulated by germline variation. The most
          400 μm                                                                               significant naevus and melanoma susceptibility loci from
                                                                                               population-based studies (reported in REF. 36) can be
                                                                                               broadly divided into high-penetrance and low-penetrance
                                                                                               alleles. High-penetrance alleles with low population fre-
                                                                                               quencies are associated with more pronounced pheno­
          50 μm
                                                                                               types such as larger naevi and markedly increased
                                                                                               melanoma risk. These variants tend to affect genes resid-
                                                                                               ing in pathways that harbour frequent somatic mutations
                                                                                               in sporadic melanomas (for example, the G1/S check-
b                                                                                              point or telomerase). Because they are associated with
                         Melanoma                               Melanoma
                                                                                               atypical naevi they will be discussed further below in
                                                                                               the section on intermediate lesions. By contrast, low-
                                                                                               penetrance alleles have markedly higher population fre-
                                                                                               quencies and are associated with milder phenotypes such
      Naevus                                 Melanoma in situ                                  as lighter skin complexion, decreased tanning ability and
                                                                                               a comparatively smaller melanoma risk. These alleles
Figure 2 | The morphological spectrum of melanocytic neoplasms. a | Top row:
                                                                                               predominantly affect pigmentation genes, including
clinical images showing a free-standing naevus, a dysplastic naevus,  melanoma
                                                                  Nature Reviewsin| Cancer
                                                                                     situ
and invasive melanoma. Second row: schematics illustrating the architectural features          SLC45A2, tyrosinase (TYR), MC1R, OCA2 and agouti
for each type of lesion as described in the main text. Rows 3–5: photomicrographs              signalling protein (ASIP)36. Surprisingly, none of these
illustrating the representative histopathological features of each type of lesion as           variants has been individually linked to higher naevus
described in the main text. b | Clinical images showing combined neoplasms. As                 count 36 even though skin complexion strongly associ-
discussed in the main text, melanomas rarely pass through every histopathological stage.       ates with naevus count 37,38. A factor partially explaining


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          Melanocytes                         Naevus                   Intermediate neoplasm                 Melanoma in situ                  Invasive melanoma
              1                                 2                                                                  3                                    4
          Melanocytes that are uniquely          Common acquired naevus,                    Melanoma in situ with pagetoid          Non-CSD melanoma, enriched
          susceptible to transformation          which can exhibit several                  histology that is associated with       for the superﬁcial spreading
          by BRAFV600E early in life             histological patterns                      the non-CSD subtype of melanoma         subtype of melanoma

               5                                                                  6                                   3                                  4
Non-CSD




           Melanocytes that harbour a pre-existing                  Dysplastic naevus, but other diverse
           pathogenic variant, whether inherited                    histopathological lesions can
           through the germline or somatically acquired             occupy this category as well

               7                                                                                                                                         8
           A melanocyte that already harbours the secondary                            Nodular melanoma, a type of melanoma that appears suddenly with no
           and tertiary mutations required for melanoma                                apparent precursor and can associate with the CSD or non-CSD trajectory

               9                                                                                                     10                                 11
          Melanocyte on skin with                                         Lentigo maligna, a distinct subtype of             Lentigo maligna melanoma, a distinct
          high cumulative sun exposure                                    melanoma in situ characterized by its              subtype of melanoma exclusive to
                                                                          lentiginous growth pattern and                     the CSD trajectory that arises when
                                                                          exclusively associated with CSD melanomas          lentigo maligna becomes invasive
               5                                                                  12                                                                    13
CSD




           Melanocytes that harbour a pre-existing pathogenic variant,         A range of melanocytic proliferations with                           CSD melanoma
           whether inherited through the germline or somatically acquired      histopathological criteria falling short of melanoma

               7                                                                                                                                         8
           A melanocyte that already harbours the secondary                            Nodular melanoma, a type of melanoma that appears suddenly with no
           and tertiary mutations required for melanoma                                apparent precursor and can associate with the CSD or non-CSD trajectory

                                  Figure 3 | Common melanoma progression trajectories. The relationship between clinically distinct melanomas, their
                                                                                                                                       NatureEach
                                  precursors and their cells of origin as inferred from histopathological, clinical and genetic observations.   Reviews
                                                                                                                                                      entity| Cancer
                                                                                                                                                              (type of
                                  melanoma, precursor lesion or cell of origin) is described in detail in this Review article, where we refer to its depiction in the
                                  figure using the notation steps 1– 12, represented in the figure by circled numbers. CSD, chronically sun damaged.


                                  this discrepancy may be that carriers of red hair alleles          radiation-induced DNA damage, with a predominance
                                  of MC1R typically have light complexion and freckles               of C→T transitions at dipyrimidine sites (which are sus-
                                  but have fewer visible naevi, despite an increased risk of         ceptible to UV‑induced damage)30. These observations
                                  developing melanomas on sun-exposed skin39–41.                     implicate UV radiation as an initiating factor in naevus
                                      Germline variants in genes affecting complexion and            formation.
                                  the tanning response are likely to affect the mutation                 On the basis of the anatomical distribution of
                                  burden of cells on the surface of the skin in multiple             acquired naevi and a UV‑associated mutation signature
                                  ways and this may explain the mechanism by which                   in most of their somatic mutations, we believe that UV
                                  certain variants promote carcinogenesis. Decreased pig-            radiation also contributes to the formation of BRAF V600E
                                  mentation reduces UV shielding, contributing directly to           mutations. The direct effects of UV radiation include
                                  mutagenesis. Variants of genes involved in pigmentation            the formation of cyclobutane pyrimidine dimers and
                                  pathways can also affect the pheomelanin to eumelanin              [6–4] pyrimidine–pyrimidone adducts that manifest
                                  ratio42. Pheomelanin is a redder form of melanin that              as CC→TT or (C/T)C→(C/T)T mutations51, yet the
                                  produces reactive oxygen species (ROS) upon exposure               BRAF V600E hot-spot results from a T→A transversion.
                                  to UV radiation if not counterbalanced by sufficient               Such transversions are a minor byproduct of UV radi-
                                  amounts of the black eumelanin, and thus higher levels             ation and thus could still be a direct, albeit rare, con-
                                  of pheomelanin can indirectly contribute to mutagene-              sequence of exposure to UV radiation52,53. Error-prone
                                  sis43–45. MC1R signalling not only induces eumelanin for-          DNA polymerases may also introduce these mutations
                                  mation, but also promotes DNA repair and clearance of              after UV radiation exposure52,53. Alternatively, these
                                  ROS, thus compounding the mutation-promoting effect                mutations could result from indirect effects of UV radi-
                                  of the loss-of-function variants of MC1R associated with           ation mediated by ROS. Although the exact mechanism
                                  light complexion and poor tanning ability 46.                      needs to be resolved, the epidemiological and genomic
                                      Acquired naevi arise more commonly on sun-exposed              evidence implies that UV radiation — directly or indi-
                                  anatomical sites and sun protection reduces their inci-            rectly — contributes to the formation of BRAF V600E
                                  dence, implicating UV radiation as a pathogenic factor             mutations in cutaneous melanocytes.
                                  in naevus formation47–50 (FIG. 4). BRAF V600E mutations
                                  generally result from a T→A transversion, which is not             Life of a naevus. After acquiring an initiating muta-
                                  a common type of mutation induced by UV radiation-                 tion, a melanocyte will undergo limited proliferation
                                  mediated DNA damage. However, the coexisting pas-                  to form a naevus, before entering a state that has been
                                  senger mutations in naevi show clear signs of UV                   described as “senescence-like”54. The strict definition


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                               of cellular senescence invokes irreversible cell cycle              response to the formation of neoepitopes from their
                               arrest 55,56. However, several observations indicate that at        somatic mutations. Further linking the immune sys-
                               least some melanocytes within a naevus retain the ability           tem to regulation of naevus size and number, there
                               to proliferate, arguing that they may not be strictly senes-        is a germline variant in interferon regulatory factor 4
                               cent. A small proportion of cells from explant cultures             (IRF4) associated with higher naevus counts36,74. IRF4
                               of naevi can proliferate for a short period of time57,58.           is highly expressed in naevi and regulates inflamma-
                               Furthermore, a small proportion of naevus cells can                 tion in certain contexts, although the consequences of
                               be labelled with proliferation markers59–61 and mitoses             naevus-associated germline variants in IRF4 are poorly
                               can occasionally be observed62–64. Naevus cells can also            understood. Also, there is a phenomenon known as
                               proliferate in response to certain stimuli, including UV            eruptive naevi, in which numerous naevi suddenly
                               radiation65,66, incomplete removal67, pregnancy 68 and              increase in size or appear de novo, and this often occurs
                               immunosuppression69. Dermoscopic surveillance of                    in patients who have become immunosuppressed owing
                               naevi over time also indicates that naevi are morpho-               to illness or therapy 75. These eruptive naevi arise in ana-
                               logically changing rather than entirely stable70. Finally,          tomical sites that have previously been sun exposed and
                               phylogenetic data from sequencing studies reveal that               harbour oncogenic alterations similar to those of con-
                               some naevi evolve in multiple waves of expansion, indi-             ventional naevi, indicating that the immunosuppression
                               cating a more dynamic history of the melanocytes that               enables pre-existing melanocytes to increase in num-
                               form a naevus30.                                                    ber 76. Finally, common naevi tend to involute and then
                                   Clinically, most naevi do not change in size for many           disappear after the age of 5077, possibly indicating that
                               years. We hypothesize that the low levels of proliferation          the balance between slow proliferation and attrition tips
                               that occur within some naevi are counterbalanced by                 in favour of naevus cell attrition.
                               attritional factors that could be cell autonomous or non-
                               cell autonomous. Apoptosis due to oncogenic stress has              Intermediate neoplasm (dysplastic naevus)
                               been shown to occur in melanocytic naevi71, possibly                There has been a long-standing debate over the existence
                               counterbalancing low levels of proliferation. Also, sev-            of a category of melanocytic neoplasm with a malignant
                               eral lines of evidence implicate the immune system as an            potential that is intermediate between that of common
                               attritional factor. Certain types of naevi are character-           naevi and that of unequivocal melanoma. This grey zone
                               ized by the presence of a chronic lymphocytic infiltrate            of neoplasms contains lesions with overlapping benign
                               and fibrotic changes reflecting chronic inflammation.               and malignant histopathological features (FIG. 3 steps
                               This may be due to the fact that the naevus cells har-              6 and 12), which prevent pathologists from issuing an
                               bour oncogenic mutations known to induce immune-                    unequivocal diagnosis and often results in considerable
                               stimulatory and ‘eat me’ signals72 that attract immune cells        diagnostic variation between different observers. It also
                               to eliminate them73. We speculate that in addition to               contains the contentious category of lesions known as
                               these signals lymphocytes may also be attracted                     dysplastic naevi78,79, which will be at the centre of our
                               to the partially transformed melanocytes in naevi in                subsequent discussion.


 Table 1 | Common mutations and their role during melanoma progression
Pathway            Gene                          Mutation                                            Subtype*         Progression phase‡         Role
MAPK               BRAF                          V600E                                               Non-CSD          Naevi                      Initiation
                   BRAF                          V600K, K601E and G469A, among other                 CSD              Intermediate and MIS       Initiation
                                                 clustered nonV600E alterations                                       lesions
                   NRAS                          Q61R and Q61K, among other less common              CSD              Intermediate and MIS       Initiation
                                                 alterations affecting codon 61 or 12                                 lesions
                   NF1                           Disabling mutations occurring throughout            CSD              MIS                        Initiation
                                                 the gene and deletions
Telomerase         TERT                          Promoter mutations affecting hg19                   CSD and          Intermediate and MIS       Progression
                                                 coordinates 1,295,228 or 1,295,250, among           non-CSD          lesions
                                                 less common, nearby mutations
RB                 CDKN2A                        Deletions and disabling mutations occurring         CSD and          Invasive melanoma          Progression
                                                 throughout the coding region                        non-CSD
Chromatin          ARID1A, ARID1B and/or         Disabling mutations occurring throughout            CSD and          Invasive melanoma          Progression
remodelling        ARID2                         the protein                                         non-CSD
PI3K               PTEN                          Disabling mutations occurring throughout            Non-CSD          Thicker invasive           Advanced
                                                 the protein and deletions                                            melanomas                  progression
p53                TP53                          Disabling mutations occurring throughout            CSD              Thicker invasive           Advanced
                                                 the protein                                                          melanomas                  progression
 ARID, AT-rich interaction domain; CDKN2A,cyclin-dependent kinase inhibitor 2A; CSD, chronically sun damaged; MIS, melanoma in situ; NF1, neurofibromin 1;
 TERT, telomerase reverse transcriptase. *Subtype refers to the melanoma subtype(s) predominantly associated with the mutation. ‡Progression phase refers to the
 earliest progression phase at which the mutation typically occurs.



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                                  Melanocyte             Naevus               Intermediate       Melanoma             Invasive               Metastasis
                                                                              neoplasm           in situ              melanoma
                                  Polyclonality




                                  Proliferative index (by e.g. mitosis, Ki67 or PCNA)

                                  Mutagen

                                                                              UV radiation
                                  Point mutation burden


                                  Copy number burden

                                                                                                                                 Nature Reviews
                                  Figure 4 | Biological characteristics of melanocytic neoplasms across the morphological spectrum.             | Cancer
                                                                                                                                        Melanocytic
                                  neoplasms become more proliferative and polyclonal as they evolve. Most point mutations, which are caused by
                                  ultraviolet (UV) radiation, accumulate before the transition to invasive melanoma. Once melanomas become invasive,
                                  copy number alterations become more prevalent. PCNA, proliferating cell nuclear antigen.


                                  Dysplastic naevus controversies. It is well estab-             enriched for dysplastic naevi, had multiple driver
                                  lished that certain melanoma kindreds have numer-              mutations30. Driver mutations in intermediate lesions
                                  ous enlarged naevi, a trait that cosegregates with their       included mutations known to activate MAPK signalling
                                  mela­noma risk80,81. These naevi were claimed to have          and, additionally, TERT promoter mutations or hemi­
                                  distinct clinical and histopathological features and have      zygous alterations of CDKN2A. Intermediate neoplasms
                                  been termed dysplastic naevi. Similar lesions can also         also had overall mutation burdens higher than those of
                                  occur sporadically in individuals from families without        unequivocally benign lesions and lower than those
                                  a predisposition to melanoma82. Clinically, a dysplastic       of malignant lesions. These data lend strong genetic
                                  naevus is defined as a brownish patch of at least 5 mm         support for the existence of a biologically intermediate
                                  in diameter, harbouring at least two of the following          category, raising hope that the morphological criteria of
                                  characteristics: variable pigmentation, asymmetry              these lesions can be refined in future studies.
                                  and/or irregular or indistinct borders83.
                                      Certain histopathological features have been asso-         Formation of dysplastic naevi. Clinical and histologi-
                                  ciated with dysplastic naevi; however, these features          cal evidence suggests that syndromic dysplastic naevi,
                                  correlate less well with the patient’s melanoma risk and       that is, the multiple clinical dysplastic naevi associated
                                  therefore remain a source of ongoing controversy 78.           with hereditary melanoma risk, arise de novo rather than
                                  The US National Institutes of Health (NIH) consensus           from pre-existing common naevi. Syndromic dysplastic
                                  conference has defined dysplastic naevi as lesions with        naevi tend to occur in families with a high penetrance
                                  architectural disorder, such as bridging of nests between      of melanoma78. Examples of germline variants that con-
                                  rete ridges, subepidermal fibroplasia, dermal lymphocyte       fer a high penetrance of melanoma include CDKN2A,
                                  infiltration and lentiginous melanocytic hyperplasia           cyclin-dependent kinase 4 (CDK4), TERT and protec-
                                  with spindled or epithelioid melanocytes aggregating in        tion of telomeres 1 (POT1)36,90–93, although the naevi
                                  nests of variable size82. Some classifications grade dys-      associated with TERT and POT1 variants have not been
                                  plastic naevi as mild, moderate or severe, assuming that       described. These same genes, or the pathways in which
                                  the risk of progression to melanoma represents a spec-         they operate, are frequently subject to somatic mutation
                                  trum that correlates with histopathological features84.        in sporadic melanomas. The melanocytes of patients with
                                  However, interobserver agreement in diagnosing and             such germline alterations thus have already inherited one
                                  grading dysplastic naevi is low 85–88. Some clinicians treat   of the multiple pathogenic variants found in melanomas
                                  incompletely excised lesions that are histopathologically      (FIG. 3 step 5). Once these melanocytes acquire an initi-
                                  diagnosed as dysplastic naevi as borderline malignan-          ating mutation that activates proliferation (presumably
                                  cies with re‑excision, whereas others consider them to be      in the MAPK pathway), it may lead to a decreased abil-
                                  completely benign. As a consequence, dysplastic naevi          ity to constrain proliferation, resulting in larger naevi.
                                  are diagnosed and treated inconsistently 89.                   Thus, pathogenic alterations can pre-exist in a melano-
                                      The key question underlying the conundrum of               cyte without the formation of a discernible neoplasm
Rete ridges
                                  dysplastic naevi is whether a biologically intermediate        and become revealed only in the context of an acquired
The ‘pegs’ of the epidermis
that protrude into the            category between benign and malignant truly exists, or         mutation, on some occasions resulting in the evolution of
underlying dermis.                whether an intermediate category is merely a mirage,           the tumour skipping a histopathological stage.
                                  reflecting the limitations of histopathological assess-            In contrast to syndromic dysplastic naevi, dysplastic
Fibroplasia                       ment. Recent genetic analyses have shown that naevi            naevi can also occur sporadically, with an individual
A fibrotic change in the
superficial dermis, which often
                                  unequivocally categorized as benign by multiple inde-          having only one, or a small number of dysplastic naevi.
has a lamellated appearance       pendent observers invariably had only a single driver          These also have an intermediate number of patho-
microscopically.                  mutation — BRAF V600E — whereas intermediate lesions,          genic alterations, but these mutations are probably all


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                                    acquired somatically. This would align with the obser-          Melanoma in situ
                                    vation that these dysplastic naevi show a higher over-          The term melanoma in situ refers to a proliferation of
                                    all mutation burden than common naevi30, as a higher            melanocytes with enlarged nuclei that grow in an irreg-
                                    mutation burden would be expected for multiple patho­           ular pattern entirely within the epidermis. This pattern is
                                    genic mutations to arise. Interestingly, there seem to          frequently encountered at the edges of invasive primary
                                    be additional differences in the genetic landscape of           melanomas, but can also be seen in free-standing lesions
                                    sporadic dysplastic naevi. Compared with the high               without any invasive component. These latter lesions are
                                    prevalence of BRAF V600E mutations in common naevi,             staged as Tis, the earliest stage of melanoma put forth
                                    sporadic dysplastic naevi were found to be enriched             by the American Joint Committee on Cancer 100. The
                                    for NRAS and BRAF nonV600E mutations30 (FIG. 3 step 12).        survival rate is nearly 100% for completely resected
                                    This further argues against the idea that dysplastic naevi      melanoma in situ101,102.
                                    arise from common naevi — as common naevi typically
                                    have BRAF V600E mutations — and suggests that some              Histology and subtypes. Melanoma in situ can be a pre-
                                    sporadic dysplastic naevi follow a separate evolutionary        cursor lesion to both non-CSD and CSD invasive mela­
                                    trajectory.                                                     nomas (FIG. 3). Two main patterns of melanoma in situ
                                                                                                    can be distinguished and they are associated with dis-
                                    Life of an intermediate neoplasm. We hypothesize that           tinct evolutionary trajectories: those with a pagetoid
                                    the melanocytes in dysplastic naevi proliferate slowly,         growth pattern and those with a lentiginous growth
                                    and that their proliferation is counterbalanced by attri-       pattern. The pagetoid growth pattern is associated with
                                    tional factors. Next-generation sequencing has revealed         BRAF V600E mutations4, thus placing these neoplasms
                                    recurrent TERT promoter mutations in a significant              on the trajectory of non-CSD or superficial spreading
                                    proportion of dysplastic naevi30. This is an unexpected         melanoma (FIG. 3 step 3). By contrast, the lentiginous
                                    finding, as these lesions comprise only several hundred         growth pattern consists of melanocytes arranged as
                                    thousand cells. Assuming simple exponential growth,             single units along the basilar epidermis. The lenti­
                                    this would amount to fewer than 20 divisions of the             ginous pattern is inversely correlated with BRAF V600E
                                    founder cell, too low a number to allow for a substantial       mutations, and therefore it is associated with the
                                    erosion of telomeres, the point at which TERT activa-           CSD trajectory (FIG. 3 step 10). Acral and mucosal
                                    tion would be expected to become a selectable advan-            melanomas also have a lentiginous form of melanoma
                                    tage. The divisional clock of these cells thus seems to         in situ. The lentiginous form of melanoma in situ can
                                    have advanced much further than their cell number               extend over several square centimetres of skin over a
                                    suggests; therefore, we hypothesize there must have             period of several years before it becomes invasive and
                                    been considerable cell attrition during their lives. In fur-    forms a nodule. This archetypical presentation of mela-
                                    ther support of this model, deep sequencing identified          noma in situ on CSD skin is called lentigo maligna, and
                                    branching evolution of dysplastic naevi30, which indi-          the invasive melanomas arising within them are termed
                                    cates that they arose through multiple waves of clonal          lentigo maligna melanomas (FIG. 3 step 11). These
                                    expansion. One of the histopathological hallmarks of a          lenti­ginous types of melanoma in situ predominantly
                                    dysplastic naevus is a chronic lymphocytic infiltrate in a      affect older individuals.
                                    fibrotic papillary dermis, possibly testifying to the chronic
                                    interaction between the neoplastic cells of the dysplastic      Precursors to melanoma in situ. Melanoma in situ on
                                    naevus and the immune system. Dysplastic naevi can              skin with chronic sun-induced damage (lentigo maligna)
                                    show occasional mitoses and some of their cells can be          typically arises de novo, without any associated naevus
                                    labelled with proliferation markers64,94,95, thus suggesting    that could have served as a precursor lesion26. The cell
                                    a long-lasting balance between (slow) proliferation and         of origin of this melanoma in situ is not known (FIG. 3
                                    attritional factors including the immune system. The            step 9). The high mutation burden indicates that it is
                                    involution of these naevi later in life could therefore be      a superficially located melanocyte that could reside in
                                    linked to attritional factors dominating and eliminating        the interfollicular epidermis. However, lentigo maligna
Papillary dermis                    the lesion.                                                     frequently involves the hair follicles, making the follicu-
The most superficial part of the        There is clear evidence that individuals with multi-        lar infundibulum or the bulge region of the hair follicle
dermis immediately beneath          ple dysplastic naevi are at increased risk of developing        an alternative site for its cell of origin. Melanocytes in
the epidermis. The papillae are
dermal protrusions that reach
                                    melanoma over their lifetime83,96–98. Nonetheless, the          other adnexal structures such as the eccrine sweat glands
towards the epidermis,              risk of progression of their individual dysplastic naevi        have been shown to harbour the cell of origin of acral
between individual rete ridges.     seems to be very low 99. Correlation of the genetic status      melanoma103.
                                    with the histopathological and clinical characteristics of          Melanomas arising in naevi, whether banal or
Pagetoid growth
                                    dysplastic naevi may help to refine the definition of the       dysplastic naevi, typically arise intra-epidermally,
A growth pattern of melanoma
in which enlarged melanocytes,      categories more accurately. Prospective and retrospec-          as melanoma in situ with pagetoid features 26 ( FIG. 3
singly or in nests, are scattered   tive studies linking the genetic status of dysplastic naevi     step 3). Mutation signatures implicate UV radiation-­
throughout all layers of the        to outcome, such as eventual progression to melanoma,           mediated mutagenesis of superficial melanocytes of
epidermis.                          should also help to identify specific subsets of dysplas-       the naevus as the predominant pathogenic mech-
Nodule
                                    tic naevi that may be closer to melanoma. In particular,        anism that drives the progression of these naevi
A palpable protrusion of            it seems useful to distinguish between syndromic and            to melanoma, typically via melanoma in situ as an
the skin.                           sporadic dysplastic naevi.                                      intermediate step30.


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Thin melanoma                       Genetics of melanoma in situ. Deciphering the genetic        Invasive melanoma
Invasive melanomas can be           composition of in situ melanomas has been technically        Once melanoma cells leave the epithelium of the epidermis
subclassified by their thickness,   challenging, because of their paucicellular nature. Sanger   and enter the subjacent mesenchymal tissue, such as the
measured as the distance in         sequencing efforts to detect mutations in BRAF, NRAS         dermis or submucosa, the melanoma has become inva-
millimetres between the
granular layer of the epithelium
                                    and TERT from microdissected tissue have reported rel-       sive. In contrast to many epithelial neoplasms, the ability
and its base. The term thin         atively uncommon mutations in melanoma in situ29,104,105.    to invade the dermis alone is not a malignant feature by
melanoma usually refers to          However, it is likely that the low sensitivity of Sanger     itself, as most naevi are associated with melanocytes in the
stage T1 melanomas, which are       sequencing underestimates the prevalence of mutations        dermis. For melanomas, the risk of metastatic disease and
less than 1 mm thick.
                                    in melanoma in situ and thin melanoma. Efforts using         death correlates with the depth of invasion100. Most inva-
                                    assays with higher sensitivity have identified a signifi­    sive melanomas arise from a melanoma in situ, which, as
                                    cantly higher frequency of mutations affecting the           discussed in the preceding section, can have different fea-
                                    MAPK signalling pathway, which occur mostly in BRAF,         tures, depending on the type of melanoma it is associated
                                    NF1 and NRAS30,106–108. Melanoma in situ lesions also        with. The notable exception is nodular melanoma (FIG. 3
                                    have a high frequency of TERT promoter mutations30           step 8), which is defined by the absence of any discernable
                                    and heterozygous CDKN2A alterations30.                       precursor lesion (discussed in more detail below).

                                    Formation and life of a melanoma in situ. In situ            Formation of invasive melanoma. Once a melanoma
                                    mela­nomas form from multiple pathogenic alterations         becomes invasive it ‘inherits’ the driver mutations acti-
                                    accumulated over a considerable period of time, as           vating the MAPK pathway, as well as TERT mutations
                                    reflected by their relatively late age of onset and slow     that accumulated during earlier stages of progression.
                                    development. This seems to be particularly notable for       However, invasive melanomas display a high frequency
                                    NF1‑mutant neoplasms, which affect older patients21,109.     of bi‑allelic inactivation of CDKN2A, which is not seen
                                    Whereas most mutations affecting the MAPK pathway            in precursor lesions30. Immunohistochemistry (IHC)
                                    occur in a mutually exclusive pattern, NF1 mutations         studies have also confirmed this observation, as negative
                                    commonly co‑occur with other alterations in the MAPK         reactivity for p16INK4A, one of the two proteins encoded
                                    pathway 110,111. This indicates that loss of NF1 function    by the CDKN2A locus, correlates with invasive mela-
                                    is a weak activator of MAPK signalling, and thus these       noma117–119. In animal models, NrasQ61K Cdkn2aINK4A−/−
                                    neoplasms must accumulate additional mutations over a        transgenic mice also develop invasive melanomas with
                                    considerable length of time to fully activate the pathway,   short latency and high penetrance120. Together, these
                                    explaining their particularly late age of onset.             data imply that INK4A is a crucial barrier blocking the
                                        Melanoma in situ lesions are more common on              transition to invasive melanoma. It is possible, albeit
                                    chronically sun-exposed anatomical sites and tend to         uncommon, for invasive melanomas to retain p16INK4A,
                                    have a high mutation burden with a strong mutation           suggesting that there are alternative routes to progression,
                                    signature that is associated with UV radiation expo-         most likely also overriding the G1/S checkpoint.
                                    sure. Also, many of the pathogenic mutations found               In addition to CDKN2A genetic alterations, muta-
                                    in their driver genes, such as TERT promoter muta-           tions affecting members of the SWI/SNF chromatin‑
                                    tions and disabling mutations in tumour suppressors,         remodelling complex, particularly ARID2 and
                                    exhibit signatures of UV radiation-induced DNA dam-          ARID1A, emerge at the transition to invasive mela-
                                    age. Together, this implicates UV radiation as the main      noma30. The SWI/SNF chromatin remodelling com-
                                    pathogenic factor in the development of melanoma             plex acts as a tumour suppressor in many cancers121,
                                    in situ on sun-exposed skin (FIG. 4).                        including melanoma7, although the underlying mech-
                                        In situ melanomas can persist for many years before      anisms remain unclear 122. It has been proposed that
                                    becoming invasive112, indicating that invasive growth        SWI/SNF maintains genomic integrity 122,123, which is
                                    requires additional genetic alterations. We hypothe-         noteworthy, as the emergence of SWI/SNF mutations
                                    size that these additional genetic alterations may be        during progression of melanoma coincides with the
                                    needed to overcome dependencies from the micro­              appearance of widespread chromosomal aberrations30
                                    environment of the epidermis, which might explain            that are typically seen in fully evolved melanomas3.
                                    why cells of melanoma in situ are difficult to culture           A subset of melanomas seemingly arise without any
                                    and tend to require more growth factors than invasive        precursor lesion (FIG. 3 step 8). Although it is possible that
                                    melanoma cells113–115. However, escape from immune           these lesions have overwhelmed their precursors so
                                    surveillance may also represent another requirement          that they are no longer detectable, some melanomas
                                    for transformation to invasive melanoma. It is notable       appear suddenly as nodular growths without discernible
                                    that melanoma in situ lesions, despite their tendency        precursors. Previous studies have not identified significant
                                    not to form tumours for prolonged periods of time, are       differences in the spectrum of MAPK pathway activating
                                    proliferative as assessed by increased Ki‑67 labelling       mutations between these nodular melanomas and other
                                    relative to common or dysplastic naevi116. This dis-         melanoma subtypes3. Given the premise that formation
                                    crepancy, along with the finding of TERT promoter            of melanoma requires the occurrence of multiple inde-
                                    mutations in melanoma in situ, again indicates sub-          pendent mutations, nodular melanomas could arise
                                    stantial turnover with proliferation partially offset by     either by mutations accumulating in rapid succession,
                                    cell attrition, which might be eliminated by immune          or perhaps more likely, from a melanocyte (FIG. 3 step 7)
                                    cells or cell-autonomous mechanisms.                         that already harboured the secondary and even tertiary


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                          genetic alterations, followed by the proliferation-initiating    distant metastases. Pre-emptive removal of the regional
                          mutation, most likely one activating the MAPK pathway,           lymph nodes is thus routinely performed with curative
                          as a later event124.                                             intent 140. However, there are several observations sug-
                              The mutational processes that shape the genomic              gesting that metastasis may arise in parallel rather than
                          landscape of melanomas begin to shift once a mela­               through a serial progression (FIG. 5). First, patients who
                          n­oma becomes invasive (FIG. 4). There seems to be no            undergo resection of their sentinel lymph node basin
                          further substantial increase in the burden of point              do not experience an extension of their life expectancy,
                          mutations between the earlier, non-invasive portion              contrary to what would be expected if the disease was
                          of a given melanoma and its invasive portion30. This is          regionally limited at some time during metastatic dissem-
                          consistent with UV radiation as the major factor in cre-         ination141,142. Second, circulating tumour cells are com-
                          ating DNA sequence level alterations. Once cells grow            monly found in patients who present with only regional
                          deeper into the skin they evade the mutagenic effects of         metastasis, or even no metastases at all143,144. This indi-
                          UV radiation. In contrast, the number of copy number             cates that regional nodes may not represent a boundary to
                          alterations increases from melanoma in situ to invasive          dissemination, but that their involvement merely serves
                          melanoma125,126. This indicates that other mutational            as a marker that metastatic dissemination has occurred,
                          processes are beginning to contribute to shaping the             as has been shown for other cancers such as breast and
                          evolving melanoma genome.                                        endometrial carcinoma145–148. Finally, phylo­genetic ana­
                                                                                           lyses of matched primary and metastatic lesions found
                          Late-stage mutations in primary melanomas. TP53                  patterns of parallel dissemination in most of the patients
                          mutations are found in approximately 20% of metastatic           studied149. This study also revealed that melanoma meta­s­­
                          melanomas7,10. Mutational studies of TP53 in primary             tases can be founded by multiple cells, either simulta-
                          melanomas found lower mutation frequencies than                  neously or — perhaps more likely — by reseeding over
                          reported for melanoma metastases127–129, indicating that         a period of time. We speculate that the latter scenario
                          the mutations may arise later during the development             would provide an explanation for the apparent head start
                          of primary melanomas130–133. Similarly, PTEN mutations           of regional metastases. Because of their direct connec-
                          probably arise later in primary melanomas. PTEN muta-            tion to the primary tumour through lymphatic channels,
                          tions are more frequent in thicker primary melanomas             departing cells would have a significantly increased prob-
                          and melanoma metastases134,135. An important caveat is           ability of landing at the same location, thereby increasing
                          that these genetic studies may have underreported the            the number of founding cells compared with distant sites
                          frequency of mutations in thinner primary melanomas              where repeated seeding is less likely.
                          because of stromal cell contamination. Nonetheless, for              There is evidence that even cells from melanoma pre-
                          PTEN, IHC studies also found that protein loss correlates        cursors, such as those found in melanocytic naevi, are
                          strongly with depth of invasion and risk of metastasis136,137.   already capable of dissemination and limited colonization
                              In summary, these data tentatively put bi‑allelic loss       (FIG. 5). Small deposits of morphologically bland melano-
                          of CDKN2A as an early event in invasive primary mela­            cytes are routinely found in lymph nodes removed from
                          n­omas, whereas mutations of TP53 and PTEN occur at              patients without any history of melanoma150,151; these
                          later stages of progression, but further genetic analysis        have been termed ‘nodal naevi’. Nodal naevi are espe-
                          will be necessary to resolve the timing of TP53 and PTEN         cially common in the sentinel lymph node of patients with
                          mutations. In animal models, BRAFV600E cooperates with           melanoma that has originated from naevi152, presumably
                          p53 loss of function to form melanomas in mouse138 and           because naevus cells recurrently disseminated before the
                          fish34 model systems and also cooperates with PTEN loss          primary tumour had formed. As well as these histo­logical
                          to form melanomas in mice139. The high penetrance and            observations, genetic studies have identified BRAF V600E
                          short latency in these model systems suggest that addi-          mutations in nodal naevi153, but not other genetic altera-
                          tional genetic alterations are not required for melanoma         tions found in melanomas154, supporting the notion that
                          progression in these settings. By contrast, in human             these nodal naevi truly arise from melanocytic naevi in
                          melanomas, inactivation of CDKN2A and activation of              the skin. The phenomenon of a benign tumour giving rise
                          telomerase seem to be additional selected genetic alter-         to a metastatic deposit has been termed benign metastasis,
                          ations that occur before the alterations that affect TP53        and it is not restricted to melanocytic neoplasia — other
                          and PTEN.                                                        examples include benign uterine leiomyomas155, pleo-
                                                                                           morphic adenomas156, fibrous histiocytomas157, adeno-
                          Metastatic melanoma                                              myoepithelioma158 and meningioma159. On the basis of
                          Formation of melanoma metastases. Melanomas are                  these findings we hypothesize that metastatic dissemina-
                          termed metastatic once their cells have disseminated             tion is an inherent capability even of benign melanocytic
                          beyond the local site of the primary tumour and col-             neoplasms and is not an acquired feature of progression;
                          onized other tissues. Similar to many solid tumours,             however, bona fide melanoma metastases grow signifi-
                          mela­noma metastases generally appear first in the               cantly larger and thus have an enhanced proliferative
                          lymph nodes of the draining area of the primary tumour,          capacity and/or ability to colonize tissues or evade the
                          whereas distant metastases involving visceral sites tend to      immune system.
                          appear later. This presentation has led to the assumption            Approximately 4% of all melanomas arise as apparent
                          that metastatic dissemination progresses serially from           metastases without a detectable primary tumour, and these
                          primary tumour to regional metastasis and finally to             are known as melanomas of unknown primary (MUP).


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a                                                                                                      b
                  Brain                                                              Brain
                                                                                     metastasis


                        Lung                                                            Lung
                                                                                        metastasis
                                                                                                                                   ?




                    Lymph                            Lymph                             Lymph                              Lymph                            Melanoma
                    node                             node                              node                               node                             of unknown
                                                     metastasis                        metastasis                                                          primary

                   Primary                                                                                               Naevus
                   melanoma



Melanoma cells disseminate       Due to their proximity,        Distant metastases arise later;            Naevus cells can       In a subset of patients melanoma
from primary tumours in          the regional lymph nodes       circulating tumour cells can               travel to regional     presents as a metastasis with no
parallel via both vascular       show metastatic                seed diﬀerent existing metastases,         lymph nodes and        apparent primary tumour; these may
and lymphatic routes to          deposits earlier, possibly     increasing the heterogeneity of            form small             form from primary melanomas that
regional and distant sites       due to repeated seeding        individual metastases                      metastatic deposits    have regressed or from nodal naevi
        Stage I or II                   Stage III                         Stage IV                                                             Stage III
    Macroscopic lesion         Microscopic lesion             Vascular dissemination              Lymphatic dissemination

                                 Figure 5 | Models of melanoma metastasis. a | Primary melanoma cells disseminate in parallel toNature
                                                                                                                                   local and  distant sites
                                                                                                                                          Reviews | Cancer
                                 throughout the body. Metastases are first evident in local lymph nodes, owing to their direct connection to the primary
                                 melanoma by lymphatic vessels, which could allow for repeated seeding of lymph nodes, accelerating the growth of nodal
                                 metastasis. Circulating tumour cells can seed different existing metastases and the primary tumour. b | A small proportion
                                 of metastases are found without an apparent primary tumour. The evolutionary history of these melanomas of unknown
                                 primary remains poorly understood, but we speculate that some may represent primary melanomas that arose from cells
                                 that disseminated from benign precursors such as naevi and acquired their secondary and tertiary oncogenic alterations
                                 after colonizing other sites.


                                 Two-thirds of MUPs arise within lymph nodes and the                   metastases149,162–165. However, anecdotal genetic evidence
                                 rest arise at visceral sites160. MUPs have a high muta-               implicates activation of WNT signalling through acti-
                                 tion burden with UV radiation-induced mutations,                      vating mutations of β‑catenin as a candidate, as differ-
                                 similar to melanomas with an identifiable cutaneous                   ent activating mutations of β‑catenin were identified in
                                 primary, indicating that they originated from sun-                    separate metastases in a patient that could be traced back
                                 exposed skin161. Some may originate from primary mela­                to subpopulations in the primary tumour 149. Activation
                                 nomas that underwent spontaneous regression or were                   of WNT signalling also promotes metastasis in a mouse
                                 excised and misdiagnosed. However, we speculate that                  model of melanoma166. Although there may be instances
                                 a subset originate from melanocytes that metastasized                 in which pathogenic mutations promote metastatic dis-
                                 from naevi (FIG. 5). In this model, these melanomas would             semination, a conclusive pattern of recurrent alterations
                                 have acquired the additional mutations required for full              associated with metastatic progression has yet to emerge.
                                 transformation at the metastatic site, and thus they may
                                 be more akin to primary melanomas than to melanoma                    Life of a melanoma metastasis. Melanoma metastases
                                 metastases. In line with this scenario is the clinical obser-         tend to have the highest proliferative index of all stages
                                 vation that MUPs tend to have a significantly better prog-            of melanoma167. The genetic heterogeneity of an indi-
                                 nosis than bona fide metastatic melanomas with similar                vidual melanoma metastasis is expected to be lower
                                 sites of involvement 160. This model needs to be tested               than that of a primary melanoma because its popula-
                                 further; however, the cumulative evidence suggests that               tion diversity is reduced during clonal expansion of a
                                 metastatic dissemination in melanocytic neoplasia can                 small number of founding cells. Nevertheless, subclones
                                 occur early, even before a melanoma has formed, but that              are detectable in metastases149. Mutations that confer
                                 formation of clinically detected metastases is dependent              resistance to targeted therapies, such as those directed
                                 on additional genetic alterations (FIG. 5).                           against BRAF‑V600E mutant proteins, can also lead
                                     It is unresolved whether certain driver mutations                 to simultaneous emergence of resistant clones at many
                                 promote departure from the primary melanoma and/or                    separate body sites168. As this type of relapse can arise
                                 colonization of a new site during metastatic dissem-                  within only a few months after an initial therapeutic
                                 ination. Analysis of cohorts of matched primaries                     response, it is likely that the cells carrying the resistance
                                 and metastases by exome sequencing has not identi-                    mutations pre-existed at multiple sites as minority sub-
                                 fied recurrent driver mutations that are restricted to                clone populations. Together, these observations support


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                                                                                                                                                                REVIEWS

                                       a model in which metastases have the ability to reseed                         G1/S checkpoint, are required for melanoma formation.
                                       each other (FIG. 5). This model is further supported in a                      Mutations that promote proliferation ordinarily occur
                                       mouse model of melanoma169 and in phylogenetic stud-                           the earliest during the evolution of melanoma; however,
                                       ies of human prostate cancers170. The clonal architecture                      inherited or somatically acquired alterations that disable
                                       of metastases thus does not necessarily have to reflect                        later barriers to transformation, such as alterations that
                                       branching evolution within the metastasis itself, but can                      affect TERT or CDKN2A, can pre-exist in melanocytes,
                                       also reflect seeding from tumour deposits elsewhere in                         and in this scenario may enable tumour evolution to
                                       the body. Sites that have already been settled by other                        skip to a more advanced histopathological stage once a
                                       tumour cells may offer a more hospitable environment                           proliferation-inducing mutation occurs. There is emerg-
                                       than uninvolved tissues. Reseeding adds considerable                           ing evidence that an intermediate stage of melanocytic
                                       complexity to the diversity of metastatic clones and how                       neoplasia exists, in which tumour cells harbour more
                                       resistance to therapy can evolve.                                              than one driver mutation but fewer than are required for
                                                                                                                      full transformation. UV radiation is the predominant
                                       Conclusions                                                                    mutagen acting during all stages of melanoma evolution
                                       There are distinct subtypes of melanoma that differ in                         until the transition to invasive melanoma, when other
                                       their cell of origin, anatomical site, role of UV radiation                    mutagenic mechanisms, such as chromosomal instabil-
                                       as a pathogenic factor, pattern of somatic mutations and                       ity, predominate. As UV radiation can no longer act as a
                                       type of precursor lesion. The two most common types of                         mutagen on invasive cells, there may be positive selec-
                                       melanoma in Caucasians are CSD melanoma and non-                               tion for genetic alterations that increase chromosomal
                                       CSD melanoma. The most common initiating mutation                              instability as a substitute mutator mechanism.
                                       in non-CSD melanomas is BRAF V600E. In the absence of                              Our improving insight into the genetic evolution
                                       other driver mutations, the BRAF V600E mutation results                        of melanomas from their cells of origin through dif-
                                       in a limited expansion of melanocytes to form a common                         ferent types of precursor lesion offers opportunities for
                                       naevus. These naevi are stable lesions that are probably                       improved diagnosis, earlier recognition of lesions at
                                       composed of a mixture of permanently arrested (senes-                          increased risk of progression and selective intervention
                                       cent) cells and slowly proliferating cells that are offset                     at an earlier stage. The gold standard by which to assess
                                       by immune cell-mediated attrition. Rarely, these banal                         the malignant potential of melanocytic neoplasms is
                                       naevi progress to melanoma through acquisition of sec-                         histopathology, which has demonstrable limitations
                                       ondary and tertiary mutations such as TERT promoter                            in accurately separating lesions with different risk
                                       mutations and bi‑allelic loss of CDKN2A. By contrast,                          potential171. Biomarkers that define individual pro-
                                       CSD melanomas have a different set of driver mutations,                        gression steps are emerging and are expected to have
                                       such as NRAS, NF1 or BRAF nonV600E mutations. They do                          an increasing role in assisting diagnostic classification.
                                       not ordinarily originate from common naevi, but instead                        The crucial role of UV radiation in advancing the main
                                       from melanoma in situ lesions or intermediate lesions.                         types of melanocytic neoplasia in Caucasians from one
                                           Activation of the MAPK pathway is probably required                        evolutionary stage to the next has become unequivo-
                                       to form a discernible melanocytic neoplasm. Constitutive                       cally clear, providing an opportunity to further improve
                                       activation of this pathway alone will only partially trans-                    and refine public health campaigns for sun avoidance.
                                       form melanocytes, as additional alterations are neces-                         Similar studies are needed to understand the evolu-
                                       sary for full transformation. Telomerase activation by                         tion and mutator mechanisms in melanoma subtypes
                                       mutations in the TERT promoter region is a common                              that are not related to UV radiation, such as acral and
                                       and early event in the evolution of primary melanomas.                         mucosal melanoma, which affect all world populations
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